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 4
     Attorney for LUIS HERNANDEZ
 5
 6                                UNITED STATES DISTRICT COURT
 7                             EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                2:10-CR-469-JAM
 9                                         )
                          Plaintiff,       )                STIPULATION AND
10                                         )                ORDER RE
     vs.                                   )                PRETRIAL RELEASE BOND
11                                         )
     LUIS HERNANDEZ,                       )
12                                         )
                          Defendant.       )
13   _____________________________________ )
14         On October 25, 2010, the Honorable Kimberly J. Mueller ordered Defendant Luis
15   Hernández released on a $150,000 unsecured bond to be secured within two (2) weeks.
16         On November 5, 2010, Judge Mueller granted a two- (2-) week extension to submit the
17   paperwork for security. The property to secure the bond is located in Tehama County, and
18   the appraisal service generally used in the Sacramento area does not do appraisals in
19   Tehama County. Therefore, a local appraisal service was hired to do the appraisal of the
20   property to secure Mr. Hernández’s release.
21         On November 8, 2010, that property was appraised at $70,000. The property was
22   purchased in a short sale in August 2010 for $70,000. Although other properties in the
23   surrounding area had higher values, the appraiser valued the subject property at the purchase
24   price paid in August 2010.
25         Counsel for the Government has been informed of the appraisal value and is satisfied
26   that Luis Hernández post the secured property of $70,000 and that $80,000 be on an
27   unsecured bond.
28         Becky Fidelman, the Pretrial Services Officer supervising Luis Hernández, has also

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 1   been notified of the facts stated herein and of the income of the parties, and is satisfied that
 2   $70,000 be secured by real property owned by Luis Hernández’s sister-in-law, Leticia Jazmin
 3   Barker, and that the remaining $80,000 be on an unsecured bond with Luis Hernández, Leticia
 4   Jazmin Barker and her husband, Skippy Luke Barker, serving as sureties. Pretrial Services
 5   Officer Fidelman has been in continual contact with Luis Hernández and is satisfied that he
 6   is meeting his pretrial release conditions.
 7          It is stipulated by the parties that the Court allow the $150,000 bond be satisfied by
 8   $70,000 in real property and by $80,000 in an unsecured bond.
 9          It is further stipulated that the Court permit Luis Hernández, through counsel, to submit
10   the necessary paperwork by December 2, 2010.
11          It is respectfully requested that the Court order that the $150,000 bond be satisfied by
12   $70,000 in real property and by $80,000 in an unsecured bond, and that Luis Hernández be
13   permitted to submit the necessary paperwork by December 2, 2010.
14
15                                             Respectfully submitted,
16   DATED: November 19, 2010                  /s/ Gilbert A. Roque
                                               GILBERT A. ROQUE, Attorney for
17                                             LUIS HERNANDEZ, Defendant
18
     DATED: November 19, 2010                  /s/ Michael D. Anderson
19                                             MICHAEL D. ANDERSON
                                               Assistant United States Attorney,
20                                             By Gilbert A. Roque, by telephone authorization
21
                                                   ORDER
22
            The stipulations of the parties are adjudged acceptable.
23
            IT IS SO ORDERED.
24
25   DATED: November 22, 2010            /s/ Gregory G. Hollows
                                        ________________________________________
26
                                               United States Magistrate Judge
27
28

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